                                                                               Case 3:98-cr-00070-JW   Document 448   Filed 02/10/06   Page 1 of 5



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6
                                                                          7
                                                                          8                     IN THE UNITED STATES DISTRICT COURT
                                                                          9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11
United States District Court




                                                                              UNITED STATES OF AMERICA,                   No     CR-98-0070 VRW
                               For the Northern District of California




                                                                         12              Plaintiff,                              ORDER
                                                                         13              v
                                                                         14   HOWARD M VOGEL,
                                                                         15              Defendant.
                                                                                                                  /
                                                                         16
                                                                         17              Defendant Howard M Vogel (“Vogel”) was convicted by a
                                                                         18   jury on October 3, 2002, of one count of conspiracy to launder
                                                                         19   monetary instruments (18 USC § 1956(h)) and 14 counts of laundering
                                                                         20   funds by transferring them from outside to inside the United States
                                                                         21   (18 USC § 1956(a)(2)(B)(i)).      Doc #314; Doc #360 at 1 ¶¶ 1, 2.        On
                                                                         22   September 30, 2005, Vogel moved for a new trial and for discovery
                                                                         23   in support of his motion for a new trial.          Doc #438.     A hearing was
                                                                         24   held on this matter on November 8, 2005.         For the reasons stated
                                                                         25   below, the court DENIES both motions.
                                                                         26   //
                                                                         27   //
                                                                         28   //
                                                                               Case 3:98-cr-00070-JW    Document 448       Filed 02/10/06   Page 2 of 5



                                                                          1               FRCrP 33 provides that a court may grant a new trial “if
                                                                          2   the interest of justice so requires.”             If the motion is based on
                                                                          3   newly discovered evidence, the motion must be filed within three
                                                                          4   years of the verdict or finding of guilt.               FRCrP 33(b)(1).     Because
                                                                          5   Vogel was convicted on October 3, 2002, the present motion is
                                                                          6   timely.
                                                                          7               To prevail on an FRCrP 33 motion, a defendant generally
                                                                          8   must satisfy a five-part test:       (1) the evidence must be newly
                                                                          9   discovered; (2) the failure to discover the evidence sooner must
                                                                         10   not be the result of a lack of diligence on the defendant’s part;
                                                                         11
United States District Court




                                                                              (3) the evidence must be material to the issues at trial; (4) the
                               For the Northern District of California




                                                                         12   evidence must be neither cumulative nor merely impeaching and (5)
                                                                         13   the evidence must indicate that a new trial would probably result
                                                                         14   in acquittal.    United States v Kulczyk, 931 F2d 542, 548 (9th Cir
                                                                         15   1991).    But when the testimony of a prosecution witness is wholly
                                                                         16   discredited, a court should instead apply a relaxed standard and
                                                                         17   order a new trial.       Mesarosh v United States, 352 US 1, 11-14
                                                                         18   (1956); United States v Chisum, 436 F2d 645, 648-49 (9th Cir 1971).
                                                                         19               In his new trial motion, Vogel alleges that a key
                                                                         20   prosecution witness, Steven Ableman (“Ableman”), perjured himself
                                                                         21   at Vogel’s trial, leading to an erroneous conviction.                  Doc #438 at
                                                                         22   1.   After Vogel’s conviction, Ableman pled guilty to obstructing
                                                                         23   justice based on false statements and submissions that he made and
                                                                         24   induced others to make to his probation officer about the source of
                                                                         25   some money that he had received.         Vogel speculates that “[t]he
                                                                         26   false annotations Ableman put on the bank statements were for the
                                                                         27   purpose of hiding the true source of his tainted drug monies.”                 Id
                                                                         28   at 2.    Vogel also asserts that a new trial is justified because the

                                                                                                                       2
                                                                               Case 3:98-cr-00070-JW   Document 448       Filed 02/10/06   Page 3 of 5



                                                                          1   government misled defense counsel that all of Ableman’s criminal
                                                                          2   conduct involving the false statements occurred after Vogel’s
                                                                          3   trial.   Id at 2-3.
                                                                          4                Vogel’s contentions do not justify a new trial because
                                                                          5   Vogel has neither justified invoking Mesarosh’s relaxed test nor
                                                                          6   satisfied the standard five-part test.             Vogel contends that
                                                                          7   Ableman’s conviction necessarily means that Ableman lied at Vogel’s
                                                                          8   trial when Ableman stated that he was complying with his plea
                                                                          9   agreement.    Doc #438 at 1.    But Ableman only made the false
                                                                         10   statements and submissions to his probation officer on November 25,
                                                                         11
United States District Court




                                                                              2002, after Vogel had been convicted on October 3, 2002.                   Doc #440,
                               For the Northern District of California




                                                                         12   Ex 3 at 2 ¶ 2.    Because Ableman was not convicted based on actions
                                                                         13   that he took before or during Vogel’s trial, Ableman did not
                                                                         14   necessarily commit perjury at Vogel’s trial, and this conduct
                                                                         15   provides no basis “wholly [to] discredit” Ableman’s testimony.
                                                                         16   Moreover, government misconduct does not justify granting a new
                                                                         17   trial here because the government’s attorneys did not lie when they
                                                                         18   informed Vogel’s counsel that Ableman was convicted based on
                                                                         19   activity that occurred solely after Vogel’s conviction.
                                                                         20                Nonetheless, Vogel speculates that Ableman committed
                                                                         21   other uncharged crimes by laundering money through sales of drug-
                                                                         22   tainted property.     Doc #444 at 3-8.         The government has refuted
                                                                         23   this assertion with evidence suggesting that Ableman legally
                                                                         24   obtained at least some of the money through a refund for
                                                                         25   commissions on the sale of Ableman’s properties.                Doc #443, Ex 1 at
                                                                         26   7 ¶ 2; id, Ex 3 at 10.     But even if Ableman laundered this money,
                                                                         27   Vogel has not shown how this would discredit Ableman’s testimony,
                                                                         28   which focused on other illegal actions that he and Vogel performed.

                                                                                                                      3
                                                                               Case 3:98-cr-00070-JW   Document 448       Filed 02/10/06   Page 4 of 5



                                                                          1              More importantly, all of the evidence that Vogel relies
                                                                          2   on would merely be cumulative and impeaching in a new trial.
                                                                          3   Ableman was impeached at Vogel’s trial for previously committing
                                                                          4   dozens of serious crimes, including creating false documents to
                                                                          5   hide the source of money received in drug deals (Doc #408 at 388-
                                                                          6   98); destroying incriminating evidence when he believed that he was
                                                                          7   under investigation and that his house would be searched (id at
                                                                          8   405, 434-37); making false statements on tax returns (id at 422-
                                                                          9   25); lying under oath in previous suits (id at 430-31, 487-90);
                                                                         10   impersonating a lawyer so he could visit a co-defendant in custody
                                                                         11
United States District Court




                                                                              (id at 433) and smuggling about $1.5 million in drug proceeds out
                               For the Northern District of California




                                                                         12   of the United States (id at 441-45).            Hence, Ableman’s past illegal
                                                                         13   conduct more than adequately demonstrated his dubious character,
                                                                         14   and evidence relating to Ableman’s subsequent conviction would only
                                                                         15   be cumulative and likely would not change the outcome of a new
                                                                         16   trial.
                                                                         17              The court also declines to exercise its discretionary and
                                                                         18   supervisory powers to order new discovery.              Vogel has not shown
                                                                         19   that the requested documents pertaining to Ableman’s conviction
                                                                         20   relate in any material way to Ableman’s testimony at Vogel’s trial.
                                                                         21   And, for the reasons discussed above, the requested discovery would
                                                                         22   be unlikely to lead to an acquittal in a new trial because the
                                                                         23   discovery would at best yield cumulative impeaching evidence.
                                                                         24   //
                                                                         25   //
                                                                         26   //
                                                                         27   //
                                                                         28   //

                                                                                                                      4
                                                                               Case 3:98-cr-00070-JW   Document 448       Filed 02/10/06   Page 5 of 5



                                                                          1              Accordingly, for the reasons stated above, the court
                                                                          2   DENIES Vogel’s motion for a new trial and DENIES Vogel’s motion for
                                                                          3   discovery in support of the new trial motion.
                                                                          4
                                                                          5              IT IS SO ORDERED.
                                                                          6
                                                                          7
                                                                          8                                      VAUGHN R WALKER
                                                                          9                                      United States District Chief Judge

                                                                         10
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28

                                                                                                                      5
